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 6 Attorneys for Defendant
   LAND HOME FINANCIAL SERVICES, INC.
 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11 MARCUS MANNING, VIRIDIANA LOPEZ                   Case No.: 3:21-cv-06505 WHO
   GARCIA,
12

13                 Plaintiffs,                       CERTIFICATE OF SERVICE

14          v.

15 LAND HOME FINANCIAL SERVICES, INC.,

16                 Defendant.

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                                              -1-
     CERTIFICATE OF SERVICE                                             Case No. 3:21-cv-06505-WHO
       Case 3:21-cv-06505-WHO              Document 11-3     Filed 10/06/21      Page 2 of 2




 1                                     CERTIFICATE OF SERVICE

 2          I, the undersigned, declare:

 3        I am employed in the County of Sonoma, State of California. I am over the age of 18 and
   not a party to the within action. My business address is 1400 N. Dutton Avenue, Suite 21, Santa
 4 Rosa, CA 95401.

 5          I hereby certify that on October 6, 2021, I served by mail the following:

 6      •   NOTICE OF MOTION AND MOTION TO DISMISS FOR FAILURE TO STATE A
            CLAIM UPON WHICH RELIEF CAN BE GRANTED (FRCP 12(b)(6))
 7
        •   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
 8          FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
            (FRCP 12(b)(6))
 9
        •   [PROPOSED] ORDER GRANTING MOTION TO DISMISS FOR FAILURE TO
10          STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED (FRCP 12(b)(6))

11      •   CERTIFICATE OF INTERESTED PARTIES
12 on the interested parties in said cause, by causing an original or true copy thereof to be enclosed in a
   sealed envelope addressed as follows:
13
           Marcus Manning
14         Viridiana Lopez Garcia
           700 Heath Drive
15
           Ione, CA 95640
16         Plaintiffs in pro per

17 [XX] BY MAIL – I deposited such envelope in the mail at Santa Rosa, California. The envelope
           was mailed with postage thereon fully prepaid. I am “readily familiar” with the firm’s
18         practice of collection and processing correspondence for mailing. Under that practice it
           would be deposited with the U.S. Postal Service on that same day with postage thereon fully
19
           prepaid at Santa Rosa, California in the ordinary course of business. I am aware that on
20         motion of the party serviced service is presumed invalid if postal cancellation date or
           postage meter dates is more than one (1) day after date of deposit of mailing.
21
           I declare under penalty of perjury under the laws of the State of California that the foregoing
22 is true and correct and that this declaration was executed on October 6, 2021, in Santa Rosa,
   California.
23

24 DATED: October 6, 2021

25
                                              By:          /s/Jacqueline Schaap_____________
26                                                  Jacqueline Schaap

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     CERTIFICATE OF SERVICE                                                     Case No. 3:21-cv-06505-WHO
